    23-10164-smr Doc#437 Filed 05/24/24 Entered 05/24/24 23:23:42 Imaged Certificate of
                                    Notice Pg 1 of 5




       IT IS HEREBY ADJUDGED and DECREED that the
       below described is SO ORDERED.


       Dated: May 22, 2024.

                                                                        __________________________________
                                                                                SHAD M. ROBINSON
                                                                        UNITED STATES BANKRUPTCY JUDGE
       __________________________________________________________________
                               UNITED STATES BANKRUPTCY COURT
                                      Western District of Texas
                                          Austin Division
IN RE: ASTRALABS Inc , Debtor(s)                                              Case No.: 23−10164−smr
                                                                            Chapter No.: 7

      ORDER DISMISSING PLEADING (ECF NO. 435) FOR LACK OF COMPLIANCE
                            WITH LOCAL RULES
Doc # 435 − Motion For Admission Pro Hac Vice filed by Gary M Kaplan for Creditor Fundamental Design
Lab Inc (Attachments: # 1 Proposed Order)(Boyd, Laurie)

Upon consideration thereof, the court notes that the filing is deficient in the following respects:

    The pleading does not include the signer's mailing address, telephone number and area code.

    The filing is not accompanied by the requisite form of notice.

    The Chapter 13 plan does not comply with Standing Order 17−02 which requires that the current District Form
Chapter 13 plan be filed in all Chapter 13 cases with petition dates on and after November 1, 2017. The debtor has
seven (7) days from the date of this order to file a District Form Chapter 13 plan. Failure to comply may result in the
case being dismissed without further notice. The Standing Order and District Form Chapter 13 plan may be found at
http://www.txwb.uscourts.gov/official−forms−western−district−texas .

    The Chapter 13 Plan must have an appropriate certificate of service, which lists each party served and its address.

     The pleading lacks the appropriate and/or no certificate of service per Local Rule 9013(c):
         (1) The certificate of service must be signed by an attorney or party (if appearing without counsel), certifying
that service has been accomplished in the manner and on the date stated in the certificate and upon the parties
required to be served.
         (2) The certificate of service must list each of the entities served and their addresses.
         (3) With Court approval, a party may serve a summary of a pleading where the pleading is voluminous, or
the number of parties to be served is excessively large. In such cases, the summary shall be filed, and the certificate of
service shall be appended to the summary.
         (4) No certificate of service.
         (5) Service is insufficient on all required parties in accordance with Local Rule 9013(c).
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    The filing states an incorrect time for notice to file objections, see Local Rule 9014(a) revised 11/1/2013.

     The filing states an incorrect time for notice to file objections, see Local Rule 4001(a)(2) regarding motions for
relief from stay as revised 11/1/2013.

    The pleading lacks the appropriate certificate of conference pursuant to Local Rules 9014(e) and 9014(f).

    The pleading lacks the proposed form of order attached as an exhibit to the motion, see Local Rule 9013(b)
revised 11/1/2013.

    The pleading lacks the separately uploaded proposed order, see Local Rule 9013(b) revised 11/1/2013.

    The Objection to Claim is not in compliance with the Standing Order Regarding Objections to Proofs of Claim.

    The filing is not in compliance with the current Official Bankruptcy Form(s).

    An objection to exemption must be served on all parties.

   The filer's signature on the pleading or certificate of service is incomplete and does not comply with the
Administrative Procedures for the Filing, Signing, and Verifying of Documents by Electronic Means in Texas
Bankruptcy Courts, Section III.B.1.(b).

    The pleading does not comply with the requirements for filing pleadings under the Administrative Procedures for
the Filing, Signing, and Verifying of Documents by Electronic Means in Texas Bankruptcy Courts, Section III.B.2.
Specifically, the pleading was improperly filed using the ECF login information assigned to another electronic filer
who did not sign the Motion. The Administrative Procedures require that the signature on the filed document
correspond to the Electronic Filer's ECF login/password or that of an authorized agent of the Electronic Filer.

    The document does not include a case caption as required by Fed. R. Bankr. P. 1005.

     LR 4001 (b) Motions for Extensions of Stay under § 362(c)(3)(B). A party in interest seeking relief under §
362(c)(3)(B) shall file a motion styled "Motion for Extension of Stay Pursuant to § 362(c)(3)(B)." If the motion is
filed within 7 days after the petition was filed, the Court will set an expedited hearing and debtor?s counsel shall give
notice of the expedited hearing. If the motion is filed more than 7 days after the petition was filed, the motion must be
accompanied by a separate motion for expedited hearing.

    The pleading requests multifarious relief and is hereby stricken pursuant to L. Rule 9013(a).

   Other(describe): The pleading was submitted in paper format. The Western District of Texas is a
mandatory e−filing district. Pleadings must either be filed electronically or
submitted along with a Motion to Allow Paper Filing.

The court concludes that the filing should be dismissed without prejudice to its refiling. So ORDERED.

                                                           ###
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                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 23-10164-smr
ASTRALABS Inc                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: May 22, 2024                                               Form ID: pdfintp                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 24, 2024:
Recip ID                  Recipient Name and Address
aty                     + Gary M Kaplan, Farella Braun + Martel LLC, One Bush St #900, San Francisco, CA 94104-4415

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 24, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 22, 2024 at the address(es) listed below:
Name                               Email Address
Beverly Ann Bass
                                   on behalf of Trustee Randolph N Osherow bbass@munsch.com

Cleveland R Burke
                                   on behalf of Creditor Capitol Vending and Coffee Company cburke@velawood.com

Daniela Mondragon
                                   on behalf of Creditor AFCO Credit Corporation dmondragon@reedsmith.com

Elizabeth Grace Smith
                                   on behalf of Interested Party CatalystXL Inc. beth@egsmithlaw.com, maryann@egsmithlaw.com

Eric Terry
                                   on behalf of Trustee Eric Terry eric@ericterrylaw.com ebterry@ecf.axosfs.com

Erin West
                                   on behalf of Creditor SNFood & Beverage LLC ewest@gklaw.com kboucher@gklaw.com;skalscheur@gklaw.com
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District/off: 0542-1                                            User: admin                                                             Page 2 of 3
Date Rcvd: May 22, 2024                                         Form ID: pdfintp                                                       Total Noticed: 1
Gregory Raymond Siemankowski
                               on behalf of Creditor Hasan Ugur Koyluoglu gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor Marco Frabotta gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor Daniel Smith gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
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Gregory Raymond Siemankowski
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Gregory Raymond Siemankowski
                               on behalf of Creditor Glenn Hunter gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
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Gregory Raymond Siemankowski
                               on behalf of Creditor Chad Owen gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor Thomas Dolezal gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
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Gregory Raymond Siemankowski
                               on behalf of Creditor Sheil Patel gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor Frederick A Browne gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor J333 Ventures gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor David Fisher gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor Marc Russell gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
                               on behalf of Creditor Eric Jeing-Ming Lee gregs@kellylegalgroup.com gregsiemankowski@yahoo.com,

Gregory Raymond Siemankowski
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Hugh M. Ray, III
                               on behalf of Interested Party ClearForce LLC hugh.ray@pillsburylaw.com
                               nancy.jones@pillsburylaw.com,docket@pillsburylaw.com

Jay Ong
                               on behalf of Trustee Randolph N Osherow jong@munsch.com amays@munsch.com;jay-ong-4326@ecf.pacerpro.com

John Mark Stern
                               on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division bk-jstern@oag.texas.gov,
                               sherri.simpson@oag.texas.gov

Lindsey Robin
                               on behalf of Creditor CollectiveCrunch Oy lrobin@reedsmith.com

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                               on behalf of Creditor 3423 Holdings lfancher@fritzbyrne.law

Melissa A. Haselden
                               on behalf of Interested Party Melissa Haselden mhaselden@haseldenfarrow.com haseldenbankruptcy@gmail.com

Nathan Inurria
                               on behalf of Creditor Elizabeth Bradford nathan@rosslawgroup.com

Nathan Inurria
                               on behalf of Creditor Sara Wadud nathan@rosslawgroup.com

Paul David Moak
                               on behalf of Creditor AFCO Credit Corporation pmoak@reedsmith.com ajohns@mckoolsmith.com,jcharles@mckoolsmith.com

Randolph N Osherow
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District/off: 0542-1                                             User: admin                                                        Page 3 of 3
Date Rcvd: May 22, 2024                                          Form ID: pdfintp                                                  Total Noticed: 1
Robert Chamless Lane
                               on behalf of Debtor ASTRALABS Inc chip.lane@lanelaw.com thelanelawfirm@jubileebk.net;notifications@lanelaw.com

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Ryan Lott
                               on behalf of Creditor Athletes to Athletes Inc. thelottfirm@gmail.com

Shane P. Tobin
                               on behalf of U.S. Trustee United States Trustee - AU12 shane.p.tobin@usdoj.gov
                               Carolyn.Feinstein@usdoj.gov;gary.wright3@usdoj.gov;Tisha.Savannah@usdoj.gov

Shanna M Kaminski
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                               on behalf of Creditor Thomas Dolezal ssather@bn-lawyers.com
                               phammer@bn-lawyers.com;cmurnane@bn-lawyers.com;plevine@bn-lawyers.com;cchristensen@bn-lawyers.com;BarronNewbur
                               gerPCAustin@jubileebk.net;mcalderon@bn-lawyers.com;kparsley@bn-lawyers.com

Stephen W. Sather
                               on behalf of Creditor Matthew Kelly ssather@bn-lawyers.com
                               phammer@bn-lawyers.com;cmurnane@bn-lawyers.com;plevine@bn-lawyers.com;cchristensen@bn-lawyers.com;BarronNewbur
                               gerPCAustin@jubileebk.net;mcalderon@bn-lawyers.com;kparsley@bn-lawyers.com

Stephen W. Sather
                               on behalf of Creditor Casey Melcher ssather@bn-lawyers.com
                               phammer@bn-lawyers.com;cmurnane@bn-lawyers.com;plevine@bn-lawyers.com;cchristensen@bn-lawyers.com;BarronNewbur
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                               gerPCAustin@jubileebk.net;mcalderon@bn-lawyers.com;kparsley@bn-lawyers.com

United States Trustee - AU12
                               ustpregion07.au.ecf@usdoj.gov


TOTAL: 43
